Case 1:21-cr-00392-RCL Document1 Filed 06/09/21 Page 1 of 20

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA

Vv.

ALAN HOSTETTER,
(Counts 1, 2, 4, 5)

RUSSELL TAYLOR,
(Counts 1, 2, 3, 4, 5, 6)

ERIK SCOTT WARNER,
(Counts 1, 2, 4, 5, 8)

FELIPE ANTONIO “TONY”
MARTINEZ,
(Counts 1, 2, 4, 5)

DEREK KINNISON, and
(Counts 1, 2, 4, 5, 7)

RONALD MELE,
(Counts 1, 2, 4, 5)

Defendants.

CRIMINAL NO.
GRAND JURY ORIGINAL
VIOLATIONS:

18 U.S.C. §§ 1512(k)
(Conspiracy to Obstruct an Official
Proceeding)

18 U.S.C. §§ 1512(c)(2), 2
(Obstruction of an Official Proceeding and
Aiding and Abetting)

18 U.S.C. §§ 231(a)(3), 2
(Obstruction of Law Enforcement During
Civil Disorder and Aiding and Abetting)

18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building and Grounds and Carrying a
Deadly or Dangerous Weapon)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building and Grounds and Carrying a
Deadly or Dangerous Weapon)

18 U.S.C. § 1512(c)(1)
(Tampering with Documents or
Proceedings)

40 U.S.C. § 5104(e)(1)(A)

(Unlawful Possession of a Dangerous
Weapon on Capitol Grounds and in
Buildings)
Case 1:21-cr-00392-RCL Document1 Filed 06/09/21 Page 2 of 20

INDICTMENT

The Grand Jury charges that, at all times material to this Indictment, on or about the dates

stated below:

Introduction

The 2020 United States Presidential Election and the Official Proceeding on January 6, 2021

1. The 2020 United States Presidential Election occurred on November 3, 2020.

2. The United States Electoral College (“Electoral College”) is a group required by
the Constitution to form every four years for the sole purpose of electing the president and vice
president, with each state appointing its own electors in a number equal to the size of that state’s
Congressional delegation.

3. On December 14, 2020, the presidential electors of the Electoral College met in the
state capital of each state and in the District of Columbia and formalized the result of the 2020
U.S. Presidential Election: Joseph R. Biden Jr. and Kamala D. Harris were declared to have won
sufficient votes to be elected the next president and vice president of the United States.

4, On January 6, 2021, a Joint Session of the United States House of Representatives
and the United States Senate (“the Joint Session”) convened in the United States Capitol (“the
Capitol”) building. The purpose of the Joint Session was to open, count, and resolve any objections
to the Electoral College vote of the 2020 U.S. Presidential Election, and to certify the results of
the Electoral College vote (“Certification of the Electoral College vote”) as set out in the Twelfth
Amendment of the Constitution of the United States and 3 U.S.C. §§ 15-18.

The Attack at the U.S. Capitol on January 6, 2021
5. The Capitol is secured 24 hours a day by United States Capitol Police (“Capitol

Police”). The Capitol Police maintain permanent and temporary barriers to restrict access to the
Case 1:21-cr-00392-RCL Document1 Filed 06/09/21 Page 3 of 20

Capitol exterior, and only authorized individuals with appropriate identification are allowed inside

the Capitol building.

6. On January 6,2021, the exterior plaza of the U.S. Capitol was closed to members
of the public.

7. On January 6, 2021, at approximately 1:00 p.m., the Joint Session convened in the

Capitol building for the Certification of the Electoral College vote. Vice President Michael R.
Pence presided, first in the Joint Session and then in the Senate chamber.

8. A large crowd began to gather outside the Capito! perimeter as the Joint Session
got underway. Crowd members eventually forced their way through, up, and over Capitol Police
barricades onto the Capitol grounds and advanced to the building’s exterior fagade. Capitol Police
officers attempted to maintain order and stop the crowd from entering the Capitol building, to
which the doors and windows were locked or otherwise secured. Nonetheless, shortly after 2:00
p.m., crowd members forced entry into the Capitol building by breaking windows, ramming open
doors, and assaulting Capitol Police officers. Other crowd members encouraged and otherwise
assisted the forced entry. The crowd was not lawfully authorized to enter or remain inside the
Capitol building or grounds, and no crowd member submitted to security screenings or weapons
checks by Capitol Police or other security officials.

9. Shortly thereafter, at approximately 2:20 p.m., members of the House and Senate
(including Vice President Pence) were evacuated from their respective chambers. The Joint
Session was halted while Capitol Police and other law-enforcement officers worked to restore

order and clear the Capitol building and grounds of the unlawful occupants.
Case 1:21-cr-00392-RCL Document1 Filed 06/09/21 Page 4 of 20

10. Later that night, law enforcement regained control of the Capitol building and
grounds. At approximately 8:00 p.m., the Joint Session reconvened, presided over by Vice
President Pence, who had remained hidden within the Capitol building throughout these events.

ll. In the course of these events, over 100 law enforcement officers were injured. The
Capitol suffered over one million dollars in damage—including broken windows and doors,
graffiti, and residue from pepper spray, tear gas, and fire extinguishers deployed both by crowd
members who stormed the Capitol and by Capitol Police officers trying to restore order.
Additionally, many media members were assaulted and had cameras and other news-gathering
equipment destroyed.

“Three Percenters”

12. A group of individuals, some of whom associate with militias, identify as “Three
Percenters” (also called “III%” or “3%” or “Threepers”), based on their view that only three
percent of American colonists took up arms against the British during the American Revolution.
Some Three Percenters liken the present-day U.S. Government to British authorities that infringed
on civil liberties in the period leading up to and during the American Revolution. Many
independent or multi-state militia groups incorporate “III%” in their unit names.

Conspirators

13. ALAN HOSTETTER is a 56-year-old resident of San Clemente, California.

14. RUSSELL TAYLOR is a 40-year-old resident of Ladera Ranch, California.

15, ERIK SCOTT WARNER is a 45-year-old resident of Menifee, California.

16. FELIPE ANTONIO “TONY” MARTINEZ is a 47-year-old resident of Lake
Elsinore, California,

17. DEREK KINNISON is a 39-year-old resident of Lake Elsinore, California.
Case 1:21-cr-00392-RCL Document1 Filed 06/09/21 Page 5 of 20

18. RONALD MELE is a 51-year-old resident of Temecula, California.

19. As described herein, HOSTETTER, TAYLOR, WARNER, MARTINEZ,
KINNISON, and MELE conspired with each other, and with others known and unknown, to
corruptly obstruct, influence, and impede the Congressional proceeding at the U.S. Capitol on

January 6, 2021.

The American Phoenix Project

20. In Spring 2020, ALAN HOSTETTER (“HOSTETTER”) founded the American
Phoenix Project to oppose government-mandated restrictions arising from the COVID-19
pandemic. After the 2020 U.S. Presidential election, HOSTETTER, RUSSELL TAYLOR
(“TAYLOR”) and PERSON ONE used the American Phoenix Project to support former President
Donald J. Trump and protest what they asserted was a stolen or fraudulent election result.
TAYLOR and PERSON ONE became directors of the American Phoenix Project in the Fall of
2020.

21. From at least in or around November 2020, HOSTETTER used the American
Phoenix Project as a platform to advocate violence against certain groups and individuals that
supported the 2020 presidential election results. For example:

a. On November 27, 2020, HOSTETTER posted a video of himself on his
American Phoenix Project YouTube channel that he had taken previously, while driving from
California to Washington D.C. to attend the “Million MAGA March” in support of former
President Trump, which took place on November 14, 2020 in Washington, D.C. In the video,
HOSTETTER asserted his belief that votes for Trump were “switched” to Biden and otherwise
“stolen” and that:

..some people at the highest levels need to be made an example of with an
execution or two or three. Because when you commit treason against this country
Case 1:21-cr-00392-RCL Document1 Filed 06/09/21 Page 6 of 20

and you disenfranchise the voters of this country and you take away their ability to
make decisions for themselves, you strip them of their Constitution rights. That's
not hyperbole when we call it tyranny, that's fucking tyranny. And tyrants and
traitors need to be executed as an example.... I'm going to D.C. I'm going to be
there on Saturday for this march. I hope there are a million Patriots there. Between
that, that's going to be a shot across the bow of the deep state when they see a
million Patriots surrounding that shit hole of a city-- the swamp. Because it's gonna
make all those swamp creatures know that at any time we want we'll come back
with a million Patriots and we'll surround that city.... There's gonna be a million of
us showing up to make this statement here in Washington, D.C., and I'm telling the
swamp right now, that we will be back if this doesn't get resolved peacefully and
soon....

b. On December 12, 2020, the American Phoenix Project hosted a “Stop the Steal”
rally at Huntington Beach. At the rally, HOSTETTER gave a speech in which he stated:

[w]e're gonna fix this before this is all over. There must, absolutely must, be a

reckoning. There must be justice. President Trump must be inaugurated on January

20th. And he must be allowed to finish this historic job of cleaning out the

corruption in the cesspool known as Washington, D.C. The enemies and traitors of

America both foreign and domestic must be held accountable. And they will. There

must be long prison terms, while execution is the just punishment for the

ringleaders of this coup.

TAYLOR also attended this event, and HOSTETTER later posted the video of his speech
to his American Phoenix Project YouTube channel.

22. HOSTETTER, TAYLOR and others used Telegram, an encrypted messaging app
that can send messages, photos, videos, and files, to share information regarding the election, to
coordinate travel and to promote American Phoenix Project events. For example, HOSTETTER
owned a private Telegram chat established on November 10, 2020 where participants discussed
plans to travel to Washington D.C. both in November 2020, for the Million Maga March, and in
January 2021, among other things. TAYLOR, KINNISON, and MARTINEZ, among others,

participated in this Telegram chat, which ran from November 10 to December 30, 2020.
Case 1:21-cr-00392-RCL Document1 Filed 06/09/21 Page 7 of 20

COUNT ONE
(Conspiracy to Obstruct Official Proceeding—18 U.S.C. § 1512(k))

23. The allegations in paragraphs | through 22 are realleged and incorporated as if
fully set forth in this paragraph.
24, Between December 19, 2020 and January 6, 2021, within the District of Columbia

and elsewhere, the defendants:

ALAN HOSTETTER,
RUSSELL TAYLOR,

ERIK SCOTT WARNER,
FELIPE ANTONIO “TONY” MARTINEZ,
DEREK KINNISON and
RONALD MELE

together and with others, did conspire to corruptly obstruct, influence, and impede an official
proceeding, to wit: the Certification of the Electoral College vote.
Acts in Furtherance of the Conspiracy

December 19, 2020: Intent, Organization, and Initial Planning
To Travel to Washington, D.C.

25, On December 19, 2020, TAYLOR posted to HOSTETTER’s Telegram chat a link
to'a Tweet that President Trump posted on Twitter earlier that day, which stated, “Statistically
impossible to have lost the 2020 Election. Big protest in D.C. on January 6th. Be there, will be
wild!” Alongside the link, TAYLOR posted the message, “Who is going?”

26. On December 19, 2020, HOSTETTER posted from his “americanphoenixproject”

Instagram account explaining the reasons to travel to D.C. for January 6, 2021:

Late last night President Trump tweeted that all patriots should descend on
Washington DC on Wednesday 1/6/2021. This is the date of the Joint Session of
Congress in which they will either accept or reject the fake/phony/stolen electoral
college votes. I will be there, bullhorns on fire, to let the swamp dwellers know we
will not let them steal our country from us. I hope you can join me!! #fightfortrump
#stopthesteal #savetherepublic
Case 1:21-cr-00392-RCL Document1 Filed 06/09/21 Page 8 of 20

27. On December 19, 2020, HOSTETTER and TAYLOR reserved rooms at the
Kimpton George Hotel in Washington, D.C. (the “Kimpton’) for January 6, 2021 and several days
before and after.

28. On December 20, 2020, TAYLOR renamed HOSTETTER’s November 10, 2020
Telegram chat as “The California Patriots-Answer the Call Jan 6” (the “Answer the Call” chat).

29. On December 24, 2020, MELE posted to Facebook a message stating that he and
three friends were thinking of renting a car to drive cross-country, “arriving January 5 to support
our President on the 6" and days to follow just in case.” The following day, MELE explained in
another Facebook, post, “going to rent a suburban. Team of four rotating eight hours each. Need
room for the ‘gear.’”

30. On December 25, 2020, MELE made reservations for the nights of January 5 and
6, 2021 at a Courtyard Marriott hotel in downtown Washington, D.C.

31. On December 27, 2020, MELE posted to Facebook, “January 6, 2021—-Congress
counts the electoral votes Congress meets in joint session to count the electoral votes. The Vice
President, as President of the Senate, presides over the count and announces the results of the
Electoral College vote. We are going to be there to show support!”

32. On December 28, 2020, WARNER initiated a group text message thread through
which WARNER, MELE, KINNISON, and MARTINEZ discussed logistics and expenses for a
cross-country road trip from California to Washington, D.C. from January 2 through 9, 2021. That
same day, MELE used the text thread to send WARNER, KINNISON, and MARTINEZ a
screenshot of an Enterprise car rental reservation confirmation for a premium SUV.

33. On December 29, 2020, MELE posted to Facebook, “Soldiers hitting the highway

soon to be in DC on the 6, Ready up!”
Case 1:21-cr-00392-RCL Document1 Filed 06/09/21 Page 9 of 20

34. On the same date, in response to a question about when to be at the Capitol on the
morning of January 6, 2021, TAYLOR posted to the Answer the Call Telegram chat, “I personally
want to be on the front steps and be one of the first ones to breach the doors!”.

35, On December 29, 2021, HOSTETTER and TAYLOR texted each other regarding
travel to Washington, D.C.

a. HOSTETTER texted, “I'll be heading to DC on 12/31. Let's hook up on 12/30 so
you can give me your backpack,” followed by three hatchet emojis.

b. TAYLOR responded, “Oh shiz. I need to pack that up. Alan are you bringing
firearms?”

c. HOSTETTER texted back, “NO NEVER (Instagram now monitors all text
messages ... this has been a public service announcement),” followed by three
emojis of faces laughing with tears coming out of their eyes.

36. On December 30, 2020, KINNISON sent a text message to MELE, WARNER, and
MARTINEZ in which he attached a flyer advertising the January 5, 2021 rally outside the Supreme
Court, at which TAYLOR, HOSTETTER, and PERSON ONE were named speakers for the
American Phoenix Project. After KINNISON sent this message, MELE wrote, “We need to make
sure we roll into town earlier on the 5 now,” to which KINNISON responded, “We can leave
Saturday.”

37. On December 30, 2020, TAYLOR posted to his “russ.taylor” Instagram account:

Spread the word to other CALIFORNIA Patriots to join us as we March into the
Capitol Jan 6. The Plan right now is to meet up at two occasions and locations: 1.
Jan 5" 2pm at the Supreme Court steps for a rally. (Myself, Alan, [and others] will
be speaking) 2. Jan 6" early 7am meet in front of the Kimpton George Hotel...we
will leave at 7:30am sharp and March (15 mins) to the Capital to meet up with the
stop the steal organization and surround the capital. There will be speakers there
and we will be part of the large effort for the “Wild Rally” that Trump has asked us
all to be part of.
Case 1:21-cr-00392-RCL Document1 Filed 06/09/21 Page 10 of 20

January 1, 2021: TAYLOR Initiates the California Patriots-DC Brigade
Telegram Group

38. On January 1, 2021, TAYLOR created a Telegram chat called “The California
Patriots-DC Brigade” (the “DC Brigade”) and invited other individuals to join. TAYLOR,
HOSTETTER, WARNER, KINNISON, MARTINEZ, and MELE all joined, along with more than
30 others.

39. In the “about” section that described the purpose of the DC Brigade group,
TAYLOR wrote:

This group will serve as the Comms for able bodied individuals that are going to

DC on Jan 6. Many of us have not met before and we are all ready and willing to

fight. We will come together for this moment that we are called upon.

40. Inaseries of messages on January 1, 2021, TAYLOR further explained the purpose
of the group. In one message, he explained: “This thread is exclusive to be utilized to organize a
group of fighters to have each other’s backs and ensure that no one will trample on our rights.
Also, if there is key intel that we need to be aware of tor possible threats.” He added: “I am
assuming that you have some type of weaponry that you are bringing with you and plates as well.”
TAYLOR also asked members to identify if they had previous law enforcement experience,
military experience, or “special skills relevant to our endeavors,” as well as the planned date and
time of their arrival in D.C.

41. WARNER, MARTINEZ, MELE and KINNISON all joined the DC Brigade on
January 1, 2021.

42. From January 1 through January 6, 2021, participants used the DC Brigade
Telegram chat to identify themselves to each other, to communicate, and to coordinate with each

other. TAYLOR, KINNISON, MELE, WARNER, and MARTINEZ all posted to the DC Brigade

chat during this time period.

10
Case 1:21-cr-00392-RCL Document1 Filed 06/09/21 Page 11 of 20

43. On January 1, 2021, in his introductory post to the DC Brigade, KINNISON
attached a picture of himself, MARTINEZ, and WARNER with the following message: “From
left to right, I’m Derek aka midnightrider the short guy, Tony aka blue collar patriot, Erik aka silvir
surfer.... We are 3 percent so cal. Also coming with us is redline Ron [MELE].” In the photo, all
three are flashing a hand signal that designates affiliation with a Three Percenter group.

44, In a second post on January 1, 2021, KINNISON explained that he, MELE, and
WARNER “are part of so cal 3%, we work well and train with each other,” and that the group was
“(leaving tomorrow and driving instead of flying because our luggage would be too heavy. We
will have lots of gear from medical kits, radios, multiple cans of bear spray, knives, flags, plates[,]
goggles, helmets. . . . I think we should clear all text in this chat the morning of the 5" just in case
for opsec purposes.”

45. Also on January 1, 2021, TAYLOR asked KINNISON to “take point lead on
Comms” for the DC Brigade group. Three minutes later, KINNISON responded “No problem.”

46. On January 2, 2021, ina DC Brigade Telegram chat regarding what weapons could
be carried in D.C., TAYLOR suggested a “[h]atchet,” “[bJat,” or “[I]arge metal flashlight” and
then stated: “I believe that you can carry most fixed blades just not into the government buildings.
Something tells me though if we are inside government buildings it won’t be on the top of our

list.”

Final Planning and Travel to Washington, D.C.
47, | HOSTETTER drove his personal vehicle from California to Washington, D.C. On

January 3, 2021, HOSTETTER sent a text message stating: “Finally arrived at the hotel. Just
unloaded my gear, Russ [TAYLOR], [PERSON ONE] and my wife’s gear.”

48. Also on January 3, 2021, in a post from his americanphoenixproject Instagram

11
Case 1:21-cr-00392-RCL Document1 Filed 06/09/21 Page 12 of 20

account, HOSTETTER stated: “Only 3% of Americans actually fought in our War of
Independence. There will likely be 3% of us again that will commit fully to this battle but, just as
in 1776 patriots will prevail. Things are going to come to a head in the U.S. in the next several
days. Stay tuned!”

49. | HOSTETTER checked in to the Kimpton a day early, on January 3, 2021, and
checked out on January 8, 2021.

50. Prior to leaving California for Washington, D.C., KINNISON, MELE,
MARTINEZ, and WARNER continued to exchange messages on a group text thread to coordinate
and plan their trip. On January 1, 2021, KINNISON sent a text message to MELE, WARNER,
and MARTINEZ in which he wrote, “Bring your radios guys.” Later that same day, WARNER
asked, “Do one of you guys have a clear earpiece for the radio I can use?” In response, KINNISON
wrote, “I have an earpiece for you.”

51. On January 2, 2021, KINNISON wrote a text message to MELE, WARNER, and
MARTINEZ asking if they were sure they wanted to bring a “shotty” and “another long iron” in
the SUV that MELE had rented. MELE responded to the group, “Shorter the better. Mine will be
able to be stashed under the seat. I’ll bring it. 18”barrel.”

52. On January 2, 2021, KINNISON sent a text message to MELE, WARNER, and
MARTINEZ, “Got the bandolier.” KINNISON attached a “selfie” photograph that showed
KINNISON wearing a bandolier of shotgun ammunition around his body.

53. On January 2, 2021, KINNISON, MELE, WARNER, and MARTINEZ met at
MELE’s house in Temecula, California. Before leaving in the SUV, the four men posed for a
photograph in which they all made a hand gesture signaling affiliation with a Three Percenter

group. They then drove the SUV cross-country, arriving in Washington, D.C. on January 4, 2021.

12
Case 1:21-cr-00392-RCL Document1 Filed 06/09/21 Page 13 of 20

Upon their arrival, MARTINEZ notified the DC Brigade by posting this information to the
Telegram group.

54, On January 3, 2021, when another member of the DC Brigade chat asked the group
about what tone to set their radios to, TAYLOR responded: “@midnightriderZ8 [KINNISON] will
be point on Comms.” On the same date, KINNISON, who was traveling to D.C. at the time,
responded with the message: “No tones just 142.422 simplex.”

55. TAYLOR flew from California to Washington D.C. on January 4, 2021 and
returned on January 7, 2021, and he stayed at the Kimpton throughout that period.

Washington, D.C.: January 5, 2021

56. On January 5, 2021, TAYLOR spoke at a Virginia Women for Trump rally in front

of the United States Supreme Court as part of a panel of American Phoenix Project speakers. In

his speech, he stated:

I am Russell Taylor and I am a free American. And I stand here in the streets with
you in defiance of a communist coup that is set to take over America. But we are
awake and we are never going back to sleep. We are free Americans and in these
streets, we will fight and we will bleed before we allow our freedom to be taken
from us. We declare that we will never bend a knee to the Marxists within Antifa,
to the tyrannical Democrat governors who are puppets, and to the deep state
commie actors who threaten to destroy America.... But now these anti-Americans
have made the fatal mistake, and they have brought out the Patriot's fury onto these
streets and they did so without knowing that we will not return to our peaceful way
of life until this election is made right, our freedoms are restored, and America is
preserved.

57. At 11:28 pm on January 5, 2021, TAYLOR posted a photo to a chat on another
encrypted messaging service showing gear arranged on a bed, including a khaki backpack, black
plate-carrier vest, two hatchets, a walkie talkie-type radio, a stun baton, helmet, scarf and a knife.

In the caption he wrote, “Now getting ready for tomorrow.”

13
Case 1:21-cr-00392-RCL Document1 Filed 06/09/21 Page 14 of 20

58. On January 5, 2021, members of the DC Brigade posted messages on the chat group
to coordinate with each other in Washington, D.C. In one message, a user asked the group, “Any
updates on radio?” to which KINNISON responded, ““We’re using 142.422.”, MARTINEZ then
announced his physical location at “Freedom Plaza,” and confirmed, “We’re on coms.”

January 6, 2021: Participation in the Riot at the U.S. Capitol

59, In the early morning hours, TAYLOR, HOSTETTER, PERSON ONE, and others
known and unknown met in a group in downtown Washington, D.C. to walk to the Ellipse for a
rally featuring a speech by President Trump. TAYLOR wore the black plate-carrier vest and
carried a knife in a vest pocket. He also carried a backpack containing a stun baton. HOSTETTER
and TAYLOR remained outside the secure area of the Ellipse where President Trump was
speaking because they were carrying “personal protective gear” that was not allowed inside under
Secret Service regulations.

60. Prior to the rally on the Ellipse, HOSTETTER made plans to “move back to the
Capitol” after the events at the Ellipse concluded.

61. TAYLOR, HOSTETTER, and PERSON ONE congregated with others known and
unknown in the crowd on the Mall for the rally.

62. MELE, MARTINEZ, KINNISON, and WARNER also congregated on the
National Mall and posed for a photo there. In the photo, MARTINEZ, KINNISON, and WARNER
made a hand signal showing affiliation with a Three Percenter group. MELE and MARTINEZ
wore camouflage-print plate-carrier vests.

63. TAYLOR, HOSTETTER and others known and unknown walked down
Pennsylvania Avenue to the Capitol. TAYLOR made a “selfie” video as he walked, in which he

stated, “We are on the move. Heading up to the Capitol.” In response to a police siren and the

14
Case 1:21-cr-00392-RCL Document1 Filed 06/09/21 Page 15 of 20

sight of officers standing nearby, TAYLOR stated, “We’ll see who these guys end up working
for.” TAYLOR then reiterated, “On the march to the Capitol.”

64. At2:13 pm, WARNER entered the Capitol Building through a broken window.

65.  Atapproximately 2:30 pm, TAYLOR and HOSTETTER joined rioters on the lower
West Terrace of the Capitol who were pushing through a line of law enforcement officers trying
to hold them back. TAYLOR, still carrying a knife in the front chest pocket of his plate carrier
vest, urged on rioters attempting to push through another line of officers on a lower level of the
West Terrace, saying, “Move forward Americans!” TAYLOR then turned back to the officers a
few feet away from him, who were trying to keep the rioters from moving toward the Upper West
Terrace and Capitol Building, saying, “Last chance boys. Move back!” TAYLOR, followed
closely by HOSTETTER, then pushed through the area that the law enforcement officers had been
blocking, moved up the stairs onto a structure erected for the Inauguration, and continued moving
on to the Upper West Terrace.

66. On the Upper West Terrace, HOSTETTER stated, “The people have taken back
their house. ... Hundreds of thousands of patriots showed up today to take back their government!”
TAYLOR yelled to other rioters, “Inside!”, and TAYLOR and HOSTETTER then moved toward
the Capitol Building.

67. At2:38 pm, MARTINEZ, wearing a plate-carrier vest, and KINNISON, wearing a
gas mask, joined rioters in the restricted area on the Upper West Terrace of the Capitol Building.

68. MELE shot a “selfie” video of the riot on his cell phone from the steps next to the
Upper West Terrace and stated, ““We stormed the Capitol.”

69. TAYLOR met MARTINEZ and KINNISON on the Upper West Terrace of the

Capitol.

15
Case 1:21-cr-00392-RCL Document1 Filed 06/09/21 Page 16 of 20

70. At 6:18 pm, TAYLOR posted to a Telegram chat, “I was pushing through traitors
all day today. WE STORMED THE CAPITOL! Freedom was fully demonstrated today!”

71. HOSTETTER posted a photo to his americanphoenixproject Instagram account of
himself and TAYLOR taken from the Upper West Terrace of the Capitol in which a crowd of
rioters can be seen in the background, with the message: “This was the “shot heard round the
world!”...the 2021 version of 1776. That war lasted 8 years. We are just getting started.”

72. Between 7:52 and 9:11 pm, TAYLOR sent text messages to several individuals
saying that he “stormed the capital,” but because he “had weapons,” he did not go inside. When
asked by one of the individuals with whom he was texting what happens next, TAYLOR

responded, “Insurrection!”

(In violation of Title 18, United States Code, Section 1512(k))
COUNT TWO
(18 U.S.C. §§ 1512(c)(2), 2—Obstruction of an Official Proceeding and Aiding and
Abetting)
73. Paragraphs | through 22 and paragraphs 25 through 72 of this Indictment are re-
alleged and incorporated as though set forth herein.

74, On January 6, 2021, in the District of Columbia, the defendants,

ALAN HOSTETTER,
RUSSELL TAYLOR,

ERIK SCOTT WARNER,
FELIPE ANTONIO “TONY” MARTINEZ,
DEREK KINNISON and
RONALD MELE

attempted to, and did, corruptly obstruct, influence, and impede an official proceeding, that is, the
Certification of the Electoral College vote, and did aid and abet each other and others known and

unknown to do the same.

16
Case 1:21-cr-00392-RCL Document1 Filed 06/09/21 Page 17 of 20

(In violation of Title 18, United States Code, Sections 1512(c)(2) and 2.)

COUNT THREE
(18 U.S.C. §§ 231(a)(3), 2—Obstruction of Law Enforcement During Civil Disorder and
Aiding and Abetting)
75. Paragraphs 1 through 22 and paragraphs 25 through 72 of this Indictment are re-
alleged and incorporated as though set forth herein.
76. On January 6, 2021, in the District of Columbia, the defendant,
RUSSELL TAYLOR
committed and attempted to commit an act to obstruct, impede, and interfere with law enforcement
officers lawfully engaged in official duties incident to and during the commission of a civil
disorder, and did aid and abet others known and unknown to do the same, as set forth in paragraph
65, and the civil disorder obstructed, delayed, and adversely affected the conduct and performance
of a federally protected function.

(In violation of Title 18, United States Code, Sections 231(a)(3) and 2)

COUNT FOUR
(18 U.S.C. §§ 1752(a)(1), (b)(1)(A)—Restricted Building or Grounds)

77. Paragraphs 1 through 22 and paragraphs 25 through 72 of this Indictment are re-
alleged and incorporated as though set forth herein.
78, On January 6, 2021, in the District of Columbia, the defendant,
ALAN HOSTETTER,
RUSSELL TAYLOR,
ERIK SCOTT WARNER,
FELIPE ANTONIO “TONY” MARTINEZ,
DEREK KINNISON and
RONALD MELE

did knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-

off, and otherwise restricted area within the Capitol and its grounds, where the Vice President was

17
Case 1:21-cr-00392-RCL Document1 Filed 06/09/21 Page 18 of 20

temporarily visiting, without lawful authority to do so. In so doing, TAYLOR, during and in
relation to the offense, did carry a deadly and dangerous weapon, that is, a knife.
(In violation of Title 18, United States Code, Sections 1752(a)(1) and (b)(1)(A))

COUNT FIVE
(18 U.S.C. §§ 1752(a)(2), (b)(1)(A)—Restricted Building or Grounds)

79. Paragraphs | through 22 and paragraphs 25 through 72 of this Indictment are re-
alleged and incorporated as though set forth herein.
80. On January 6, 2021, in the District of Columbia and elsewhere, the defendants,
ALAN HOSTETTER,
RUSSELL TAYLOR,
ERIK SCOTT WARNER,
FELIPE ANTONIO “TONY” MARTINEZ,
DEREK KINNISON and
RONALD MELE
did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engage in disorderly and disruptive conduct in and within such proximity
to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted
area within the Capitol and its grounds, where the Vice President was temporarily visiting, when
and so that such conduct did in fact impede and disrupt the orderly conduct of Government
business and official functions. In so doing, TAYLOR, during and in relation to the offense, did
carry a deadly and dangerous weapon, that is, a knife.
(In violation of Title 18, United States Code, Sections 1752(a)(2) and (b)(1)(A))
COUNT SIX
(40 U.S.C. § 5104(e)(1)(A)—Unlawful Possession of a Dangerous Weapon on Capitol
Grounds or Buildings)
81. Paragraphs | through 22 and paragraphs 25 through 72 of this Indictment are re-

alleged and incorporated as though set forth herein.

18
Case 1:21-cr-00392-RCL Document1 Filed 06/09/21 Page 19 of 20

On January 6, 2021, in the District of Columbia, the defendant,

RUSSELL TAYLOR,

without authorization by regulations prescribed by the Capitol Police Board, carried and had
readily accessible a dangerous weapon, that is, a knife having a blade over three inches in length,
on the United States Capitol Grounds and in any of the Capitol Buildings.

(In violation of Title 40, United States Code, Section 5104(e)(1)(A))

COUNT SEVEN
(18 U.S.C. § 1512(c)(1)—Tampering with Documents or Proceedings)

82. Paragraphs | through 22 and paragraphs 25 through 72 of this Indictment are re-
alleged and incorporated as though set forth herein.

83. On January 6, 2021, the Washington, D.C. Field Office of the Federal Bureau of
Investigation (“FBI”) opened an investigation into the attack on the Capitol, and a grand jury of
the United States District Court for the District of Columbia subsequently opened an investigation.

84. Between January 6, 2021, and February 19, 2021, in the District of Columbia and
elsewhere, the defendant,

DEREK KINNISON,
did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and
attempted to do so, with the intent to impair its integrity and availability for use in an official
proceeding, that is, KINNISON erased and obscured the DC Brigade Telegram chat from his cell
phone to hide it from the grand jury investigation into the attack on the Capitol on January 6, 2021.

(In violation of Title 18, United States Code, Section 1512(c)(1))

19
Case 1:21-cr-00392-RCL Document1 Filed 06/09/21 Page 20 of 20

COUNT EIGHT
(18 U.S.C. § 1512(c)(1)—Tampering with Documents or Proceedings)

85. Paragraphs | through 22 and paragraphs 25 through 72 of this Indictment are re-
alleged and incorporated as though set forth herein.

86. Between January 6, 2021, and February 19, 2021, in the District of Columbia and
elsewhere, the defendant,

ERIK WARNER,

did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and
attempted to do so, with the intent to impair its integrity and availability for use in an official
proceeding, that is, WARNER erased and obscured the DC Brigade Telegram chat from his cell
phone to hide it from the grand jury investigation into the attack on the Capitol on January 6, 2021.

(In violation of Title 18, United States Code, Section 1512(c)(1))

A TRUE BILL

FOREPERSON

Lb. (AP fygs

CHANNING D. PHILLIPS
ACTING U.S. ATTORNEY FOR THE UNITED STATES
IN AND FOR THE DISTRICT OF COLUMBIA

20
